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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF CONNECTICUT

     JON NATHANSON and MICHAEL                                    Case No. 3:25-cv-00609
     LIPARULO, individually and on behalf
     of all others similarly situated,

               Plaintiffs,

     v.

     YALE NEW HAVEN                     HEALTH
     SERVICES CORP.,

               Defendant.


     STIPULATION CONCERNING PROTOCOL FOR PRODUCTION OF DOCUMENTS
                 AND ELECTRONICALLY STORED INFORMATION

          Plaintiff Jon Nathanson and Michael Liparulo (“Plaintiffs”) and Defendant Yale New

Haven Health Services Corp. (“Defendant,” and together with Plaintiffs, the “Parties”) hereby

agree to this Stipulation Concerning Protocol for Production of Electronically Stored Information

(“ESI Protocol”) in the above-captioned action (“Action”).

          WHEREAS, counsel for the Parties have met and conferred regarding discovery of

Documents and electronically stored information (“ESI”) in this Action and have entered into this

ESI Protocol to facilitate the just, speedy, and efficient conduct of discovery of ESI that is

proportional to the needs of the case and to promote, to the fullest extent possible, the resolution

of disputes regarding the discovery of ESI without the Court’s intervention.

          THEREFORE, the Parties stipulate and agree as follows:

I.        DEFINITIONS

          a.         “Custodial Documents” includes a custodian’s (a) exclusive e-mail mailbox(es) the

custodian uses for work purposes; (b) other ESI or papers or hard-copy Documents that relate to
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the custodian’s work residing in exclusive sources available to such custodian only; and (c) if the

custodian uses chats or other instant or direct messages for work purposes, such messages.

Custodial Documents do not include ESI stored in centralized data sources such as shared drives,

group emails or group folders. Custodial Documents also do not include any Structured Data , such

as data stored in data warehouses, databases, or similar locations.

       b.       “Documents” means any recorded information—including, but not limited to, any

writings, drawings, graphs, charts, photographs, sound recordings, images, memoranda,

correspondence and other data, data records or data compilations—stored in any medium from

which information can be obtained, whether as ESI or in hard copy.

       c.       “Electronically Stored Information” or “ESI,” as used herein, means information or

data of any kind, stored electronically.

       d.       “Load File” means an electronic file containing information identifying a set of

paper-scanned images and/or processed ESI and indicating where individual pages or files belong

together as Documents, including attachments, and where each Document begins and ends. A Load

File will also contain certain data relevant to the individual Documents, including, where

reasonable and possible, extracted and user created Metadata as specified herein and in

Attachment A.

       e.       “Metadata” means data and information that describes other data and includes

without limitation (1) information embedded in a Native File that is not ordinarily viewable or

printable from the application that generated, edited, or modified such Native File; and (2)

information generated automatically by the operation of a computer or other information

technology system when a Native File is created, modified, transmitted, deleted or otherwise

manipulated by a user of such system. Except as otherwise provided herein (e.g., Sections 6 and




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7.B), this ESI Protocol does not create a duty on a party to create Metadata that is not kept in the

ordinary course (excluding production-related Metadata, such as Bates numbers) and reasonably

captured and produced.

       f.      “Named Custodians” means the individual custodians to be identified by the Parties

for whom discoverable relevant Custodial Documents are most likely to exist.

       g.      “Native File” means a copy of ESI in the form that it is stored by the Party.

       h.       “OCR” means the optical character recognition file which is created by software

used in conjunction with a scanner that is capable of reading text-based Documents and making

such Documents searchable using appropriate software.

       i.      “Parties” or “Party” means, collectively or individually as the case may be,

Plaintiffs, Defendant, and any party subsequently added or joined in this Action after the date of

this ESI Protocol, including, but not limited to, named parties to actions that may be consolidated

into or coordinated with the above-captioned Action.

       j.      “Producing Party” means any Party or third-party who produces Documents or ESI

pursuant to any discovery request, subpoena, or otherwise in this Action.

       k.      “Receiving Party” means a Party or third-party who requests Documents or ESI

pursuant to any discovery request, subpoena, or otherwise in this Action.

II.    GENERAL PROVISIONS

       a.      Applicability. Unless otherwise agreed to by the Parties, this ESI Protocol governs

the production of Documents and ESI in this Action. To the extent any Producing Party reproduces

Documents or ESI previously produced in this or another matter, that party may reproduce such

Documents or ESI in the manner in which they were originally produced. No Party is obligated to

reformat any such prior production in accordance with the production specifications in this ESI




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Protocol, provided that the production is in a reasonably useable format. The Parties reserve the

right to object to a non-conforming format. Nothing in this ESI Protocol is intended to be an

exhaustive list of discovery obligations or rights of the Parties under the Federal Rules of Civil

Procedure, the Local Rules of the United States District Court for the Middle District of Florida

(“Civil Local Rules”), any other applicable state and federal statutes or rules, or orders of this

Court.

         b.    Proportionality. The proportionality standard set forth in Fed. R. Civ. P. 26(b)(1)

is intended to apply to every aspect of this ESI Protocol and shall be applied to the production of

Documents, including ESI. The Parties agree to confer should proportionality become an issue and

both Parties reserve the right to challenge that any aspect of the production of ESI is not

proportional to the needs of the case.

         c.    Limitations and Non-Waiver. The Parties and their attorneys do not intend by

this ESI Protocol to waive their rights to any protection or privilege, including the attorney-client

privilege, the work-product doctrine, and any other privilege or immunity that may be applicable.

The Parties and their attorneys are not waiving, and specifically reserve, the right to object to any

discovery request on any grounds. Further, nothing in this ESI Protocol shall be construed to affect

the admissibility of Documents, information, and ESI. All objections to the discoverability or

admissibility of any Documents or ESI are preserved and may be asserted at any time. This ESI

Protocol does not govern the appropriate scope of discovery under Rule 26(b)(1), custodian

selection and search parameters, or impose any obligations beyond those in the Federal Rules of

Civil Procedure.

         d.    Authenticity and Admissibility. Nothing in this ESI Protocol shall be construed

to affect the authenticity or admissibility of any Document or data. All objections to the




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authenticity or admissibility of any Document or data are preserved and may be asserted at any

time.

        e.     Modification by Agreement. Any practice or procedure set forth herein may only

be modified by written agreement of the Parties. Any Party added or joined to this Action and any

Party to actions that may be consolidated into or coordinated with this Action after the date of this

ESI Protocol who seeks to deviate from the ESI Protocol set forth herein shall obtain leave of

Court to do so unless all Parties otherwise consent in writing.

        f.     Modification by Court Order. Nothing in this ESI Protocol waives the right of

any Party to petition the Court for an order modifying the ESI Protocol’s terms upon good cause

shown; provided, however, that counsel for such Party must first meet and confer with counsel for

the opposing Party, and the Parties shall use reasonable best efforts to negotiate an amendment of

this ESI Protocol prior to seeking relief from the Court.

        g.     Confidential or Highly Confidential Materials/Clawback. Nothing herein shall

contradict or otherwise prejudice the Parties’ rights and obligations under any stipulated protective

order concerning the confidentiality of discovery material (“Stipulated Protective Order”) entered

into by and between the Parties in this Action. If there is any inconsistency between this ESI

Protocol and the Stipulated Protective Order, the terms of the Stipulated Protective Order shall

govern. This ESI Protocol shall be interpreted to provide the maximum protection allowed by Fed.

R. Evid 502(d) and Fed. R. Evid 502(e); the provisions of Fed. R. Evid 502(b) are inapplicable to

any productions under this ESI Protocol. A Producing Party seeking to claw back Privileged

Material shall follow the procedures outlined in Appendix B.

        h.     Good-Faith Efforts. The Parties shall make good-faith efforts to comply with and

resolve any disputes concerning compliance with this ESI Protocol. No Party may seek relief from




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the Court concerning compliance with the ESI Protocol unless it has conferred with other affected

Parties.

III.       PRESERVATION

           a.   The Parties agree that they shall continue to take reasonable steps to preserve

potentially relevant Documents and ESI in accordance with their obligations under the Federal

Rules of Civil Procedure and other applicable laws.

           b.   The Parties will meet and confer regarding the scope of preservation, including

custodians, data sources, date ranges, and categories of information that have been or should be

preserved in connection with this Action.

           c.   The Parties agree that by preserving Documents or providing information about the

Parties’ preservation efforts, the Parties are not conceding that such material is responsive or

discoverable.

           d.   If ESI is inaccessible to a Producing Party, the Producing Party will inform the

Requesting Party of that fact.

           e.   If a Producing Party asserts that accessing, preserving or producing certain ESI

would be overly burdensome, the Parties shall meet and confer before presenting the issue to the

Court for resolution. If the Parties do not agree to resolve the dispute, the Producing Party shall

move for a protective order within 45 days of the Parties’ agreeing that the meet-and-confer process

has not resolved their dispute. Each such motion shall be accompanied by a competent declaration

affirming the movant has complied with the meet-and-confer requirements of this ESI Protocol.

           f.   If a Receiving Party, following a production, seeks additional ESI (only upon

showing particularized need) or the production of ESI in a different format upon an assertion that

the ESI produced is not reasonably useable, the Parties shall meet and confer regarding whether




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the information can be reasonably produced in a different format and/or whether the Producing

Party agrees to the Receiving Party’s request for additional ESI. If the Parties do not agree to

resolve the dispute, the Receiving Party may move to compel within 45 days of the Parties’

agreeing the meet-and-confer process has not resolved their dispute. Each such motion shall be

accompanied by a competent declaration affirming the movant has complied with the meet-and-

confer requirements of this ESI Protocol.

       g.      The Parties agree that the following data categories shall be deemed inaccessible

and therefore, not discoverable, and need not be preserved:

               i.      Deleted, slack, fragmented, or other data only accessible by forensics.

               ii.     Random access memory (RAM), temporary files, or other ephemeral data

                       that is difficult to preserve without disabling the operating system.

               iii.    Data in Metadata Fields that are frequently updated automatically, such as

                       last opened date.

               iv.     Backup and archive data that are substantially duplicative of data that are

                       more accessible elsewhere.

               v.      Server, system or network logs.

               vi.     Data remaining from systems no longer in use that is unintelligible on the

                       systems in use and where there is no reasonable way to convert the data to

                       a universal format such as CSV, XLSX, TXT, SQL, XML, etc.

       h.      The Parties agree that they need not preserve email data (e.g., Microsoft Outlook

data) in more than one location where it is accessible or stored (e.g., on physical server, on local

hard drive, on mobile-device drive) so long as it is preserved in one of the locations.

IV.    IDENTIFICATION OF RESPONSIVE DOCUMENTS




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       a.      The Parties agree that each Producing Party will take reasonable steps to identify,

review, and produce relevant ESI.

       b.      Counsel for the Parties will correspond regarding the selection of Named

Custodians and centralized data sources (i.e., non-custodial ESI) from which they are collecting

ESI for production in the Action. The Parties will work in good faith to identify, discuss, agree

upon and revise, if necessary, the Named Custodians and sources of non-custodial ESI to avoid an

unduly burdensome production or retrieving a large quantity of non-responsive ESI. Each Party

shall make a reasonable and diligent effort to search for and collect reasonably accessible and

responsive (1) Custodial Documents from the Named Custodians and (2) ESI from the agreed-to

sources of non-custodial ESI.

       c.      The Parties agree to exchange lists of proposed Named Custodians via email. If a

Receiving Party believes additional custodians should be searched at any point in the discovery

process, the Parties shall meet and confer as necessary. The Parties each reserve all objections to

gathering and producing ESI for additional custodians, including an objection on the basis that the

ESI should have been sought earlier, but agree to meet and confer in good faith regarding any such

request.

       d.      The Parties agree to exchange lists of sources of non-custodial ESI via email. If a

Receiving Party believes additional non-custodial ESI should be searched, the Parties shall meet

and confer as necessary.



       f.      The Producing Party shall provide a list of search terms and date ranges that the

Producing Party intends to apply to the collected materials to cull the information for review; the

parties shall meet and confer as necessary regarding each Party’s search terms proposal. If the




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Receiving Party identifies additional reasonable search terms following a review of a Producing

Party’s production (including, but not limited to, terms of art or abbreviations used by the

Producing Party), the Receiving Party may propose the addition of such search terms, and the

Parties shall meet and confer as necessary regarding the same. The Parties each reserve all

objections to running additional search terms against the ESI, including an objection that additional

search terms ESI should have been sought earlier, but agree to meet and confer in good faith

regarding any such request.

       g.      In the event of a dispute or disagreement regarding search terms and/or Named

Custodians, the Parties will meet and confer in a good faith effort to resolve such dispute or

disagreement consistent with applicable rules. If the Parties are unable to reach an agreement on

the dispute, the party requesting additional search terms and/or custodians may file a motion with

the Court within 45 days of the Parties’ completion of their meet and confer efforts. Each such

motion must be accompanied by a competent declaration affirming the movant has complied with

the meet-and-confer requirements of this ESI Protocol.

       h.      By entering into this stipulation, no Party waives its right to seek assistance from

the Court on any matter relating to the scope, handling, or production of ESI not specifically

addressed herein. Nothing herein is intended to waive any right of a Party to seek entry of a

protective order, cost-shifting order, or other order requiring the Receiving Party to pay costs if the

Parties are unable to reach agreement.

       i.      Filtering. Common system and program files, defined by the National Software

Reference Library (“NSRL List”), need not be processed, reviewed or produced. If a Producing

Party proposes to apply other filters to further limit ESI that is collected for processing and review

(e.g., filters that identify system files, non-user generated files, or zero-byte files), the Producing




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Party shall advise the Receiving Party and they shall meet and confer regarding the use of such

additional proposed filters.

          j.     De-Duplication.     De-duplication should occur both vertically within each

custodian and horizontally across custodians. De-duplication shall be done in a way that preserves:

(1) information on blind copy (bcc) recipients of deduplicated emails; and (2) the identity of other

Custodians whose files contained copies of Documents and ESI that were removed as a result of

the deduplication process. However, hard-copy Documents shall not be deduplicated against ESI,

“loose” electronic Documents shall not be deduplicated against attachments to email, and

attachments to email shall not be deduplicated unless all Documents in family, including the parent

email, are exact duplicates.

          k.     Metadata Fields. Absent exceptional circumstances, each of the Metadata and

coding fields set forth in Appendix A, shall be extracted and produced for hard copy Documents

and ESI to the extent they exist. The Parties are not obligated to populate manually any of the

fields in Appendix A if such fields cannot be extracted automatically from a Document using

standard processing software, with the exception of the following fields: (1) BegBates, (2)

EndBates, (3) BegAttach, (4) EndAttach, (5) Confidentiality Designation (“Confidential,” “Highly

Confidential,” or “Null”), (6) Custodian, (7) NativeLink 1, and (8) Source, which may be populated

by the party or the party’s vendor. Any Metadata Fields for redacted Documents that would reveal

privileged information shall be excluded.

          l.     Extracted Text and OCR Text. In the case of ESI, an extracted text file should be

provided for each produced Document, along with its corresponding TIFF image file(s) and the

associated Metadata. The file name of each extracted text file should be identical to that of the



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    In the case of natively-produced ESI.


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beginning Bates number of its corresponding produced Document, followed by .txt. File names

should not contain any special characters or embedded spaces. The text of Native Files should be

extracted directly from the Native File. In the case of hard copy Documents, a single Optical

Character Recognition (“OCR”) text file shall be provided in lieu of extracted text for each

produced Document. OCR text files shall also suffice in place of extracted text when a produced

Document has been redacted. Finally, when extracted text is not available in a Native File, an OCR

tool should be used prior to production to extract available text so that the record is searchable.

V.     PRODUCTION OF DOCUMENTS ORIGINATING AS PAPER

       a.      The following production specifications apply to Documents that existed in paper

format prior to production (“Hard Copy Documents”). Documents that originated as paper, but

which were scanned and maintained electronically by a Party prior to inception of this Action shall

be produced in accordance with Part VII of this ESI Protocol.

       b.      The Parties agree to produce Hard Copy Documents in the formats described below,

to the extent reasonably practicable and not unduly burdensome. These formats are deemed to be

productions in reasonably usable form. If a Producing Party intends to produce any Hard Copy

Documents in any manner other than as specified herein, the Producing Party shall notify the

Receiving Party of its intent, including production format (e.g., produced as paper, made available

for inspection). If the proposed production format is not acceptable to the Receiving Party, the

Parties shall meet and confer to determine a mutually acceptable production format for such Hard

Copy Documents.

       c.      TIFFs. Hard Copy Documents should be scanned as single-page, black-and-white,

Group IV compression TIFF images using a print setting of least 300 dots per inch (DPI). Bates

numbers, confidentiality designations (in accordance with any Stipulated Protective Order), and




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redactions (to the extent they are necessary) should be burned into the image. TIFF image files

should be provided in an “Images” folder.

       d.      Unitizing Documents. The Parties shall undertake reasonable efforts to ensure

that, in scanning paper Documents, distinct Documents should not be merged into a single record,

and single Documents should not be split into multiple records (i.e., paper Documents should be

logically unitized). For example, Documents stored in a binder, folder, or similar container (each

a “container”) should be produced in the same order as they appear in the container. The front

cover of the container should be produced immediately before the first Document in the container.

The back cover of the container should be produced immediately after the last Document in the

container.

       e.      Parent-Child Relationships. The Parties agree that if any part of a Hard Copy

Document or its attachments is responsive, the entire Document and attachments shall be

produced, except for any attachments that may be withheld or redacted on the basis of any privilege

or work-product or other protection. The Parties shall take reasonable steps to ensure that parent-

child relationships within a Document family (the association between an attachment and its parent

Document) are preserved. The child-Document(s) should be produced consecutively, i.e.,

immediately after the parent-Document. Each Document shall be produced with the production

number for the first and last page of that Document in the “BegBates” and “EndBates” fields of

the Data Load File and with the “BegAttach” and “EndAttach” fields listing the production number

for the first and last page in the Document family.

       f.      OCR. Hard Copy Documents shall be run through OCR software, and the full text

shall be provided on a Document-level in an appropriately formatted text file (.txt) that is named

to match the first Bates number of the Document. Text files should be provided in a “Text” folder.




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To the extent that a Document is redacted, the text files should not contain the text of the redacted

portions.

       g.      Unique IDs. Each TIFF image should have a unique filename that corresponds to

the Bates number of that page. The filename should not contain any blank spaces and should be

zero-padded (e.g., ABC-000001), taking into consideration the estimated number of pages to be

produced. If a Bates number or set of Bates numbers is skipped in a production, the Producing

Party will so note in a cover letter or production log accompanying the production or as soon as

practicable thereafter. Bates numbers will be unique across the entire production and prefixes will

be consistent across all Documents a Party produces in the Action.

       h.      Data Load Files. Hard Copy Documents should be provided with an Opticon

Cross-Reference File and Concordance Data Load File using standard Concordance delimiters:

               i.      Field Separator: ASCII character 20 (“¶”);

               ii.     Quote: ASCII character 254 (“þ”); and

               iii.    New Line: ASCII character 174 (“®”).

               iv.     Concordance-compatible image and Data Load Files should be provided in

                       a “Data” folder.

       i.      Metadata. Each of the Metadata and coding fields set forth in Appendix A shall

be produced for that Hard Copy Document to the extent reasonably available.

       j.      Color. Hard Copy Documents containing color need not be produced in color in

the first instance, provided, however, that the Producing Party shall retain a copy of produced Hard

Copy Documents in color. However, if good cause exists for the Receiving Party to request

production of certain Documents in color, the Receiving Party may request production of such




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Documents in color by providing a list of the Bates numbers of Documents it requests to be

produced in color format. The Producing Party shall not unreasonably deny such requests.

VI.    PRODUCTION FORMAT FOR ELECTRONICALLY STORED INFORMATION

       a.      The Parties agree to produce ESI in the formats described below. These formats are

deemed to be productions in reasonably usable form. If any Party contends that particular

Documents or ESI warrant a different format, the Parties will meet and confer to determine a

mutually acceptable production format for such Documents.

       b.      Structured Data. The Parties understand and acknowledge that certain categories

of ESI are structurally complex and do not lend themselves to production in traditional production

formats (e.g., TIFF). If a response to a discovery request requires the production of ESI contained

in a database or other structured-data format (“Structured Data ”), the Parties agree to meet and

confer in good faith regarding an appropriate production format including, if necessary and

possible, parameters for querying the database or relevant system for discoverable information and

methods for generating a report in a reasonably usable and exportable electronic file (e.g., Excel,

CSV, or SQL format). To the extent available and reasonably accessible, the first line in the

Structured Data Report will show the column headers for each field of data included in the

Structured Data Report.

       c.      Non-structured Data. ESI that is not Structured Data should be produced as

single-page, black-and-white, Group IV TIFF images using at least 300 DPI, unless produced in

native format, as described below. To the extent possible through an automated process, the

Document’s original orientation should be maintained (i.e., portrait-to-portrait and landscape-to-

landscape). In the event the original orientation of Documents in a production appears to be altered

(e.g., emails are inverted or sideways), the Receiving Party may request the reproduction of those




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Documents in their original orientation. Bates numbers, confidentiality designations (in

accordance with the Stipulated Protective Order), and redactions (to the extent they are necessary)

should be burned into the image. TIFF image files should be provided in an “Images” folder.

       d.      Extracted Text Files. The full text of Native Files should be extracted directly

from the Native File (not OCR) and should be delivered in an appropriately formatted text file

(.txt) that is named to match the first Bates number of the Document. Text files should be provided

in a “Text” folder. To the extent that a Document is redacted, the Document should undergo OCR

after the text has been redacted in order to remove the redacted text.               e.

       Unique IDs. Each image should have a unique filename that corresponds to the Bates

number of that page. The filename should not contain any blank spaces and should be zero-padded

(e.g., ABC-000001), taking into consideration the estimated number of pages to be produced. If a

Bates number or set of Bates numbers is skipped in a production, the Producing Party will so note

in a cover letter or production log accompanying the production or as soon thereafter as practicable.

Bates numbers will be unique across the entire production and prefixes will be consistent across

all Documents a party produces in this Action. Further, the Parties shall undertake reasonable

efforts to ensure that distinct Documents stored as ESI should not be merged into a single record,

and single Documents stored as ESI should not be split into multiple records (i.e., Documents

stored as ESI should be logically unitized).

       f.      Parent-Child Relationships. Parent-child relationships between Documents that

have been maintained in the ordinary course of business should be preserved. For example, if a

Party is producing an email with its attachments, the attachments should be processed in order

behind the e-mail, except attachments withheld on privilege grounds, which will be indicated on




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the associated privilege log and the withheld attachment will be replaced with a slip sheet stating

“Document withheld for privilege.”

       g.      Metadata. The Parties agree that Metadata will be produced for all produced ESI,

whether produced in native format or as TIFF images. Appendix A sets forth the Metadata Fields

that shall be produced to the extent that Metadata exists for a particular Document. Metadata Fields

for Documents that are partially redacted for privilege that do not contain privileged information

should still be produced. Nothing herein shall require any Party to create or produce Metadata that

does not exist or is not reasonably or technically accessible.

       h.      Native Format. The following items of ESI shall be produced in Native File

format: spreadsheet- application files (e.g., MS Excel, Tab Separated Value (.tsv), Comma

Separated Value (.csv), personal databases (e.g., MS Access), multimedia audio/visual files such

as voice and video recordings (e.g., .wav, .mpeg, and .avi) and presentation files and/or

presentation application files (e.g., MS PowerPoint), with any speaker notes and any other similar

text produced with the presentation slides. The processed native for all spreadsheets (i.e., MS

Excel, .CSV, or similar), and electronic information containing audio or video components should

be produced and linked to the database by the Metadata Field “NativeLink.” Where Native Files

are produced in lieu of TIFF images, each Native File will be assigned a unique Bates number. The

Producing Party will produce a placeholder (a single-page TIFF slip sheet indicating that the native

item was produced) along with the file itself in native format. The placeholder will be branded

with the production number in the lower right-hand corner and the phrase “PRODUCED IN

NATIVE FORMAT” branded in the center of the page. The Producing Party will also brand any

confidentiality or similar endorsements in the lower left-hand corner of the placeholder.




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       i.      Redaction of Native Files. If a native spreadsheet is redacted, the Producing Party

shall redact the Native File or, if such redaction is not practicable, produce TIFF images with

burned-in redactions in lieu of a Native File and TIFF placeholder image, provided the TIFF

images are reasonably usable.

       j.      Redaction of TIFF images. If redacting TIFF images, the Producing Party shall

make reasonable efforts to cause such images to legibly present all information in a Document. To

the extent redacted information is not reasonably usable, the Receiving Party may request that it

be produced as a redacted Native File. If good cause exists, the Receiving Party may ask the

Producing Party to manually undertake the foregoing for certain Documents identified by Bates

number by the Receiving Party to the extent the Document was originally produced with concealed

information. The Producing Party shall not unreasonably deny such a request.

       k.      Request for Native Files. Other than as specifically set forth above, a Producing

Party need not produce Documents in native format. If good cause exists for the Receiving Party

to request production of certain Documents in native format, the Receiving Party may request

production in native format by providing a list of the Bates numbers of Documents it requests to

be produced in Native Format. The Producing Party shall not unreasonably deny such requests.

Producing Party shall produce an overlay to ensure that the “NativeLink” entry in the Data Load

File indicates the relative file path to each Native File in such production, and all Extracted Text

and applicable Metadata Fields.

       l.      Hidden Content. To the extent that ESI was saved with hidden content, such as

comments or tracked changes, the ESI shall be imaged showing that hidden content, to the extent

the Producing Party can practicably do so using an automated process. If ESI containing hidden

content cannot be imaged to show hidden text, it will be produced in native format.




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       m.      Password-Protected Files. The Parties agree that they will take reasonable steps

to unencrypt and index any password-protected Documents or other encrypted containers prior to

applying search terms, TAR, or other filtering methodologies. To the extent security protection for

such Documents and ESI cannot be successfully processed despite reasonable efforts, the

Producing Party must notify the Receiving Party of the number of Documents affected for each

custodian and agree to meet and confer should the Receiving Party request additional information

about such files.

       n. Embedded Documents.          Non-image files embedded within Documents, such as

spreadsheets within a PowerPoint, will be extracted as separate Documents and treated like

attachments to the Document in which they were embedded. The Bates number of the source file

from which the embedded file is extracted must be provided as Metadata associated with the

embedded file, as described in Appendix A. Graphic objects embedded within Documents or

emails, such as logos, signature blocks, and backgrounds need not be extracted as separate

Documents. Hyperlinked documents and modern attachments will not be treated as conventional

attachments for purposes of preserving a family relationship for production. The Producing Party

will consider reasonable requests for production of hyperlinked documents, should it be feasible,

on a case-by-case basis.

       o.      Data Load Files. Documents should be provided with an Opticon Cross-Reference

File and Concordance Data Load File using standard Concordance delimiters:

               i.     Text Delimiter AKA “Quote” – “þ”, Hex (FE), Unicode (U+00FE); Decimal

                      (254) 2;

               ii.    Field Separator AKA “Comma” – “”, Hex (14), ASCII character 20 (“¶”);

               iii.   Unicode (U+0014), Decimal (20);




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               iv.     Quote: ASCII character 254 (“þ”); and

               v.      New Line: ASCII character 174 (“®”).

        p.     All rows will contain the same number of delimiters and fields. The multi-value

field delimiter must be consistent across all fields. For example, if the CC field contains semi-

colons between email addresses, the Tag field should also contain semi-colons. Concordance-

compatible image and Data Load Files should be provided in a “Data” folder. Parties have the

option to exchange sample Load Files. If this exchange occurs, the Receiving Party will have 14

days to respond with Load File change requests. Nothing in this ESI Protocol will limit the Parties

from discussing Load File changes throughout the course of the Action.

        q.     Email Threading. Email threads are email communications that contain prior or

lesser-included email communications that also may exist separately in the Party’s electronic

Document collection. The Parties reserve the right to use email threading through a commercially

reasonable eDiscovery software (e.g., Relativity) to reduce the overall amount of ESI and

Documents produced and use email thread suppression to avoid review and production of

information contained within an existing email thread in another Document being reviewed and

produced. Any Party who uses email threading to reduce the amount of ESI produced shall provide

a written description of the threading process they, or their eDiscovery vendor, is using to confirm

that all related communications in a particular thread are being captured for review.

        r.     Production of Audio and Video Recordings. The Parties must meet and confer

before producing audio and video recordings other than in their native format.

        s.     Production of Transcripts. If deposition or other transcripts are responsive, the

Parties should meet and confer to determine a mutually agreeable format for producing the

transcripts.




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       t.      Custodian or Originating Source. The custodian must be identified in the

custodian field of the database Load Files. Documents collected from a natural person should be

produced in such fashion as to identify the natural person. Documents collected from non-custodial

sources, such as shared files, storage locations, or drives, should be produced in such a fashion as

to identify the department, group, entity, or facility from which the Documents were collected. A

Producing Party shall make reasonable efforts use a uniform description of a particular custodian

across productions.

       u.      Color. Documents not produced in native format containing color need not be

produced in color in the first instance. Additionally, if good cause exists for the Receiving Party to

request production of certain Documents in color, the Receiving Party may request production of

such Documents in color by providing a list of the Bates numbers of Documents it requests to be

produced in color format. The Producing Party must not unreasonably deny such requests. The

Parties reserve the right to allocate costs of color productions if they become burdensome.

v. Foreign Language. Foreign language text files and Metadata should be delivered with the

correct encoding to enable the preservation of the Document’s original language.

       w.      Date Format.

               i.      If a time is not available, such as the estimate date for a coded Document,

                       then 12:00 am, or 00:00 should be assigned, i.e., 12/21/1999 00:00.

               ii.     Date delimiters, such as slashes and colons, must be consistent across all

                       fields. In the format of MM/dd/YYYY, there are no spaces and only forward

                       slashes.

               iii.    Date formats must be consistent within any one field.




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               iv.     Date formats must be consistent across all fields (i.e., a record with a sent

                       date should have the same format in the last modified date field).

               v.      Unless otherwise specified by a Producing Party, the Producing Parties must

                       make reasonable efforts to process all ESI using a single time zone and

                       make clear which time zone applies. For the avoidance of doubt, no party

                       will be required to re-process any ESI that has been processed prior to the

                       date of this ESI Protocol for purposes of complying with this provision. To

                       the extent a Producing Party cannot process ESI with these time zones, it

                       must disclose the same and the Parties shall meet and confer regarding a

                       reasonable alternative.

       x.      Production Media. The preferred means of producing Documents is via secure

FTP or secure file share. However, Documents may also be produced via encrypted flash drive,

encrypted hard drive or encrypted CD or DVD. To the extent possible, physical media should be

protected before it is produced.

       y.      Naming Convention for Production Media. Whether produced via secure FTP,

file share, or physical media, the files produced should be combined into a compressed file (e.g.,

.zip or .rar). The compressed file should be named so as to indicate Producing Party, the date of

the production, and the sequence of the production (e.g., “TGH Production 202301864-001”). If

the production is made using physical media, the media should be labeled to include: (a) text

referencing that it was produced in DiPierro, et al. v. Florida Health Sciences Center, Inc. d/b/a

Tampa General Hospital; and (b) the Bates number range of the materials contained on the media.

       z.      Replacement Productions. Any replacement production will be transmitted with

a cover letter or email to identify the production as a replacement and cross-reference the BegBates




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and EndBates of the Documents being replaced. If the replacement production is being transmitted

by physical media, the media must include the phrase “Replacement Production.”

        aa.    Encrypted Data. To the extent a production is encrypted before it is produced, the

Producing Party must contemporaneously transmit the credentials necessary to decrypt the data.

        bb.    Confidentiality Designations.       If a particular paper Document or ESI item

qualifies for confidential treatment pursuant to any applicable federal, state, or common law (e.g.,

Personally Identifiable Information or Protected Health Information), or pursuant to the terms of

the Parties’ Stipulated Protective Order entered by the Court in this Action, the designation must

be branded on the Document’s image at a location that does not obscure the underlying images.

This designation also should be included in the appropriate data field in the Load File. For

Documents produced in native format with image placeholders, the placeholder image for the

Native File should be branded with the appropriate confidentiality designation to the extent

possible. Receiving Parties must ensure that the confidentiality claim follows the Document

regardless of whether the designation imprints on the file when viewed in printed form. A Party’s

failure to comply with the procedures set forth in this ESI Protocol shall not waive that Party’s or

any other person’s right to assert that information is private, confidential, or otherwise protected.

VII.    ASSERTIONS OF PRIVILEGE

        a.     For any Document withheld in its entirety or produced but redacted, the Producing

Party will produce privilege/redaction logs in a format that permits electronic searching. Entries

for redacted Documents must identify, by Bates number, each Document over which the Producing

Party is asserting privilege. The Parties agree to meet and confer in good faith over the deadline

for production of privilege logs after they have ascertained the volume of potentially responsive

information. Further, the Parties will meet and confer to establish a format for privilege logs and




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redaction consistent with the Federal Rules of Civil Procedure, including a good faith effort to

reach agreement on the manner in which a privilege log will be generated and the contents of such

a log. The Parties shall consider whether the nature and volume of the privileged Documents and

ESI warrants category-by-category privilege logging, Document-by-Document privilege logging,

Metadata logging, or some combination of these approaches.

       b.     The following Documents presumptively need not be included on a privilege log:

              i.      Communications exclusively between a party and its legal counsel

                      regarding this Action; and

              ii.     Attorney work product relating to this Action.

       c.     The Parties agree to privilege log emails with the following rules:

              i.      In the case of an entirely withheld Document that contains more than 1

                      email (i.e., an email chain), if:

                      a)      All of the emails in the chain contain the same subject line, to, from,

                              cc and bcc;

                      b)      All of the emails involve the same topic(s); and

                      c)      All of the emails are being withheld for the same privilege reason(s),

                      Then the Producing Party need only make one log entry for the Document,

                      so long as the log describes the Document as “multiple communications” or

                      “multiple emails.”

              ii.     In the case of an entirely withheld Document that contains more than 1

                      email (i.e., an email chain), if the characteristics identified in preceding sub-

                      section are not met, then the Producing Party shall log each withheld

                      communication separately.




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       d.      If an email contains both privileged and non-privileged communications, the non-

privileged communications must be produced, either by separately producing a copy of the non-

privileged communications embedded in the privileged communication, or by producing a copy

of the entire communication string with the privileged portions redacted.

       e.      If an email is produced with redactions, the redactions must not obscure the headers

(from, to, subject, sent date) of any embedded emails, unless the identity or contact information of

a person is privileged or otherwise protected.

       f.      Redacted emails need not be logged as long as the objective Metadata (unless the

privilege or protection is contained in these fields) is not redacted, and the reason for the redaction,

including the nature of the privilege asserted, is noted on the face of the Document. For redacted

Documents where the subject matter is not decipherable because of the redactions, a description

of the contents that is sufficient to understand the subject matter of the Document may be

requested. Non-email Documents need not be logged if the reason for the redaction is noted on the

face of the Document in the redacted area. Privileged information must be obscured with redaction

boxes labeled with the basis for the redaction, (e.g. Redacted Attorney/Client Privilege), and,

where a Load File is utilized, the appropriate confidentiality designation must be shown in the

appropriate data field in the Load File.

       g.      A Producing Party must not withhold Documents on a claim of privilege merely

because other Documents in the same Document family are privileged.

VIII. THIRD PARTY DOCUMENTS

       a.      A Party that issues a non-party subpoena (“Issuing Party”) must include a copy of

this Protocol with the subpoena and state that the Parties to the Action have requested that third

parties produce Documents in accordance with the specifications set forth herein.




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       b.      The Issuing Party shall promptly notify the other Parties when it receives non-party

productions and shall provide copies of such productions to the other Parties in the format in which

they were received from the third-party within five days of the Issuing Party’s receipt of the

Documents.

       c.      In the event that the format of a third-party production does not conform with the

specifications set forth herein, the Parties shall meet and confer regarding the format of production

to Receiving Parties.

       d.      Nothing in this ESI Protocol is intended to or should be interpreted as narrowing,

expanding, or otherwise affecting the rights of the Parties or third parties to object to a subpoena.

IT IS SO AGREED AND SIPULATED BY COUNSEL OF RECORD.


 /s/ William B. Federman                              /s/ Casie D. Collignon
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and the Putative Class




      SO ORDERED, this ______________ day of ___________________, 2025.



                                          ____________________________________
                                          U.S. District Judge




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                    APPENDIX A: REQUIRED METADATA FIELDS

Field Name 2        Populated For Field Description


BegBates            All             Control Numbers for start of document
EndBates            All             Control Numbers for end of document
BegAttach           All             Control Numbers (First production Bates number of the first
                                    document of the family)
EndAttach           All             Control Numbers (Last production Bates number of the last
                                    document of the family)
Attachment Count    All             Number of attachments
Custodian           All             Custodian name (ex. John Doe)
CustodianAll        All             All custodians who were in possession of a de-duplicated document
                                    besides the individual identified in the Custodian field

LogicalPath         All             The directory structure of the original file(s). Any container name
                                    is included in the path. For email, this should be the email folder
                                    path (e.g. jdoe.pst\inbox)
AllPaths            All             This field should be populated with the folder paths of all duplicate
                                    files (Email and Edocs) that were suppressed during deduplication.

Hash value          All             The MD5 or SHA-I hash value
PgCount             All             Page Count or an Image Count, if auto generated
NativeFile          All             Native File Link
EmailSubject        Email           Subject line of email
DateSent            Email           Date email was sent
TimeSent            Email           Time email was sent
DateMod             Email, Edoc     Date the document was modified
TimeModified        Email, Edox     Time the document was modified
TimeSent            Email           Time email was sent
TimeZoneUsed        Email           Time zone used to process data during document collection and
                                    processing
ReceiveTime         Email           Time email was received
ReceiveDate         Email           Date email was received
To                  Email           All recipients that were included on the “To” line of the email



2
 The Field Names and Descriptions in this ESI Protocol are meant to serve as a guide; the
Parties acknowledge that Field Names can vary from system to system and even between
different versions of systems.


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From               Email         The name and email address of the sender of the email
CC                 Email         All recipients that were included on the “CC” line of the email

BCC                Email         All recipients that were included on the “BCC” line of the email

DateCreated        Edoc          Date the document was created
TimeCreated        Edoc          Time the document was created
FileName           Email, Edoc   File name of the edoc or email
Title              Edoc          Any value populated in the Title field of the document properties

Subject            Edoc          Any value populated in the Subject field of the document properties

Author             Edoc          Any value populated in the Author field of the document properties

DocExt             All           File extension of the document
TextPath           All           Relative path to the document level text file
Redacted           All           “X,””Y,'” “Yes,” and “True” are all acceptable indicators that the
                                 document is redacted. Otherwise, blank
Paper              All           “Y” if document is scanned from hard copy in connection with the
                                 collection and production of documents in this matter
Confidentiality    All           Populated if document has been designated as “Confidential” or
                                 “Highly Confidential” under the Protective Order
Production Volume All            Production Volume Name
DocType            All           Description of document (Email, Attachment, EDoc, Hard Copy,
                                 etc)
Email Thread ID    Email         Unique identification number that permits threading of email
                                 conversations. For instance, unique MS Outlook identification
                                 number (“PR_CONVERSATION_INDEX”) is 22 bytes in length,
                                 followed by zero or more child blocks each 5 bytes in length, that
                                 facilitates use of email threading.




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                         APPENDIX B – CLAWBACK PROCEDURES

Any party who has received a notification of disclosure of Privileged Information from a producing
shall follow the following procedure to ensure all copies of Privileged Information are
appropriately returned, sequestered, or destroyed from the receiving party’s system:

i.     Locate each recall document in the document review/production database and return,
sequester, or destroy the record from the database;

ii.     If there is a native file link to the recalled document, return, sequester, or destroy the native
file from the network path;

iii.   If the database has an image load file, locate the document image(s) loaded into the viewing
software and return, sequester, or destroy the image file(s) corresponding to the recalled
documents. Remove the line(s) corresponding to the document image(s) from the image load file;

iv.    Apply the same process to any additional copies of the document or database, where
possible;

v.      Locate and return, sequester, or destroy all other copies of the document, whether in
electronic or hardcopy form. To the extent that copies of the document are contained on write-
protected media, such as CDs or DVDs, these media shall be returned, sequestered, or destroyed
and rendered unusable, with the exception of production media received from the recalling party,
which shall be treated as described herein;

vi.     If the document was produced in a write-protected format, the party seeking to recall the
document shall, at its election, either (i) provide a replacement copy of the relevant production
from which the document has been removed, in which case the receiving party shall destroy and
render unusable the original production media; or (ii) allow the receiving party to retain the original
production media, in which case the receiving party shall take steps to ensure that the recalled
document will not be used; and

vii.     Confirm that the recall of Privileged Information under this procedure is complete by way
of letter to the Party seeking to recall Privileged Information.




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